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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF GEORGIA
MACON DIVISION

UNITED STATES OF AMERICA
CRIM. NO. 5:22-CR-1

YS.

JARVIS HAVIOR,

Defendant.

 

PLEA AGREEMENT

It is agreed by the United States of America, by and through its undersigned attorney, and
Jarvis Havior, hereinafter referred to as “Defendant,” and Defendant’s undersigned attorney, as
follows:

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Defendant acknowledges that Defendant has reviewed and discussed the Indictment
against Defendant in this matter with Defendant’s attorney and Defendant’s attorney has
explained to Defendant her understanding of the Government’s evidence.

(2)

Defendant understands that Defendant is not required to plead guilty, and that Defendant
has the right to plead not guilty and to elect instead to be tried by jury. Defendant understands
that at a jury trial, Defendant would enjoy a presumption of innocence, and that the United States
would have the burden of proving Defendant’s guilt beyond a reasonable doubt, Defendant
understands that Defendant would be entitled to the services of an attorney at all stages of such a
trial. Defendant understands that Defendant would be entitled to confront and to cross-examine
the United States’ proof, and to present witnesses and evidence in Defendant’s own behalf.

Defendant understands that Defendant would have the right to testify in Defendant’s own behalf,

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but that Defendant could not be compelled to do so. Defendant has discussed these rights with
Defendant’s attorney. Defendant is satisfied with the services of Defendant’s attorney.
Defendant knowingly and voluntarily waives Defendant’s right to plead not guilty and to
proceed to trial.

The United States Attorney and the Defendant understand and agree that the Court should
consider its sentence in light of the advisory Federal Sentencing Guidelines, as explained in
United States v. Booker, 543 U.S. 220 (2005). Defendant knowingly and voluntarily waives any

further objections that Defendant may have based on Booker, Apprendi v. New Jersey, 530 U.S.

 

466 (2000), and their progeny. Defendant therefore agrees that at sentencing, the Court may
determine any pertinent fact by a preponderance of the evidence and the Court may consider any
reliable information, including hearsay. Defendant expressly waives any claim of right to an
indictment, trial by jury, and/or proof beyond a reasonable doubt on any factual determinations
that pertain to sentencing in this case.

(3)

Defendant being fully cognizant of Defendant’s rights, and in exchange for the
considerations to be made by the United States as set forth in Paragraph (4) below, agrees
pursuant to Rule 11(c), Federal Rules of Criminal Procedure, as follows:

(A) The Defendant is guilty and will knowingly and voluntarily enter a plea of guilty
to Count Ten (10) of the Indictment which charges Defendant with Possession of
Methamphetamine with Intent to Distribute in violation of Title 21, United States Code,
Sections 841(a)(1), 841(b)(1)(A)(viii), and Title 18 United States Code, Section 2.

(B) That Defendant fully understands that Defendant’s plea of guilty as set forth in

Subparagraph (A), above, will subject Defendant on Count Ten to a maximum life sentence, a

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mandatory minimum term of imprisonment of ten (10) years, a maximum fine of
$10,000,000.00, or both, and a term of supervised release of at least five (5) years. Defendant
further acknowledges that the Court is required to impose a mandatory assessment of $100.00
per count.

(C) The Defendant acknowledges and understands that the Court is not bound by any
estimate of the probable sentencing range that Defendant may have received from Defendant’s
attorney, the Government, or the Probation Office. The Defendant further acknowledges and
agrees that Defendant will not be allowed to withdraw Defendant’s plea because Defendant has
received an estimated guideline range from the Government, Defendant’s attorney, or the
Probation Office which is different from the guideline range computed by the Probation Office in
the Presentence Investigative Report and found by the Court to be the correct guideline range.

(D) The Defendant understands fully and has discussed with Defendant’s attorney that
the Court will not be able to determine the appropriate guideline sentence until after a
Presentence Investigative Report has been completed. The Defendant understands and has
discussed with Defendant’s attorney that the Defendant will have the opportunity to review the
Presentence Investigative Report and challenge any facts reported therein. The Defendant
understands and has discussed with Defendant’s attorney that any objections or challenges by the
Defendant or Defendant’s attorney to the Presentence Investigative Report or the Court’s rulings
thereon will not be grounds for withdrawal of the plea of guilty.

(E) Defendant understands and has discussed with Defendant’s attorney that after the
Court determines the applicable guideline range of this case, the Court has the authority under
certain circumstances to impose a sentence that is more severe or less severe than the sentence

called for by the guidelines.

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(F) Defendant agrees to provide a check for the mandatory assessment at the time of
sentencing.

(G) Waiver of Appeal Rights and Right of Collateral Attack:

Understanding that Title 18, United States Code, Section 3742 provides for appeal by a
Defendant of the sentence under certain circumstances, Defendant waives any right to appeal the
imposition of sentence upon Defendant, including the right to appeal the amount of restitution
imposed, if any, except in the event that the District Court imposes a sentence that exceeds the
advisory guideline range as that range has been calculated by the District Court at the time of
sentencing, or in the event that the District Court imposes a sentence in excess of the statutory
maximum.

Defendant waives any right to collaterally attack Defendant's conviction and sentence
under Title 28, United States Code, Section 2255, or to bring any other collateral attack, except
that Defendant shall retain the right to bring a claim of ineffective assistance of counsel. This
provision shall not bar the filing of a petition for writ of habeas corpus, as permitted by Title 28,
United States Code, Section 2241.

Defendant waives any right to file a motion for modification of sentence, including under
Title 18, United States Code, Section 3582(c)(2), except in the event of a future retroactive
amendment to the sentencing guidelines which would affect Defendant’s sentence.

Defendant and the Government agree that nothing in this plea agreement shall affect the
Government’s right or obligation to appeal as set forth in 18 U.S.C. § 3742(b). If, however, the
Government appeals Defendant’s sentence pursuant to this statute, Defendant is released from

Defendant’s waiver of Defendant’s right to appeal altogether.

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Defendant acknowledges that this waiver may result in the dismissal of any appeal or
collateral attack Defendant might file challenging his/her conviction or sentence in this case. If
Defendant files a notice of appeal or collateral attack, notwithstanding this agreement, Defendant
agrees that this case shall, upon motion of the Government, be remanded to the District Court to
determine whether Defendant is in breach of this agreement and, if so, to permit the Government
to withdraw from the plea agreement.

(H) Defendant and the Government stipulate and agree that there was no detected or
identified biological evidence obtained during the investigation and prosecution of the matter
which is subject to DNA testing. The Defendant further agrees that all evidence obtained in this
investigation and prosecution may be destroyed or returned to its rightful owner.

(D The United States of America and Defendant hereby agree that any breach of this
agreement by the Defendant occasioned by a failure to cooperate, by withholding information,
giving of false information, perjury, or failure to testify in any judicial proceeding in connection
with the individuals, matters, and transactions referred to in the information, would: (a) not
relieve the Defendant of Defendant’s plea of guilty; (b) permit the Government to reinstate and
proceed with prosecution on any other charges arising from the matters referred to in this
supetseding information; (c} permit the Government to instigate and proceed with the
prosecution of any other offenses arising from a breach of this agreement, including perjury,
false declaration, false statement, and/or obstruction of justice; and (d) permit the Government to
utilize against the Defendant in any subsequent judicial proceeding any and all statements made
by the Defendant. Ifa legitimate issue arises as to whether or not there has been a breach of this
agreement, said question shall be determined by the United States District Court for the Middie

District of Georgia. The burden of establishing such a breach shall be upon the United States

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and shall be established by a preponderance of the evidence. The Federal Rules of Evidence
shall not apply in any hearing to establish such a breach, but evidence shall be admitted and
excluded at the Court's discretion.

(4)

In exchange for the consideration set forth in Paragraph (3) above, the United States
Attorney for the Middle District of Georgia agrees as follows:

(A} That he will accept the plea of guilty by Defendant as provided in Paragraph
(3)(A), above, in full satisfaction of all possible federal criminal charges, known to the United
States Attorney at the time of Defendant’s guilty plea, which might have been brought solely in
this district against the Defendant. The United States Attorney agrees to dismiss the remaining
counts of the pending Indictment, if any, in exchange for Defendant’s plea of guilty to Count Ten
of the Indictment.

(B) That he further agrees, if the Defendant cooperates truthfully and completely with
the Government, including being debriefed and providing truthful testimony, at any proceeding
resulting from or related to Defendant’s cooperation, to make the extent of the Defendant’s
cooperation known to the sentencing court. If the Defendant is not completely truthful and
candid in his cooperation with the Government, he may be subject to prosecution for perjury,
false statements, obstruction of justice, and/or any other applicable charge. If the cooperation is
completed prior to sentencing, the Government agrees to consider whether such cooperation
qualifies as “substantial assistance” pursuant to 18 U.S.C. Section 3553(e) and/or Section 5K1.1
of the Sentencing Guidelines warranting the filing of a motion at the time of sentencing
recommending a downward departure from the applicable guideline range. If the cooperation is

completed subsequent to sentencing, the Government agrees to consider whether such

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cooperation qualifies as “substantial assistance” pursuant to Rule 35(b) of the Federal Rules of
Criminal Procedure warranting the filing of a motion for reduction of sentence within one year of
the imposition of sentence. In either case, the Defendant understands that the determination as to
whether Defendant has provided “substantial assistance” rests solely with the Government. Any
good faith efforts on the part of the Defendant that do not substantialiy assist in the investigation
or prosecution of another person who has committed a crime will not result in either a motion for
downward departure or a Rule 35 motion. In addition, should the Defendant fail to cooperate
truthfully and completely with the Government, or if the Defendant engages in any additional
criminal conduct, the Defendant shall not be entitled to consideration pursuant to this paragraph.

(C) Pursuant to Section 1B1.8 of the United States Sentencing Guidelines, the
Government agrees that any self-incriminating information which was previously unknown to
the Government and is provided to the Government by the Defendant in connection with
Defendant’s cooperation and as a result of the Defendant’s plea agreement to cooperate will not
be used in determining the applicable guideline range. Further, the Government agrees not to
bring additional charges against the Defendant, with the exception of charges resulting from or
related to violent criminal activity, as defined in 18 U.S.C. § 924(e)(2)(B)@), based on any
information provided by the Defendant in connection with the Defendant’s cooperation, which
information was not known to the Government prior to said cooperation. This does not restrict
the Government’s use of information previously known or independently obtained for such
purposes.

(D) if the Defendant affirmatively manifests an acceptance of responsibility as
contemplated by the Federal Sentencing Guidelines, the United States Attorney will recommend

to the Court that the Defendant receive an appropriate downward departure for such acceptance.

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It is entirely within the Court’s discretion whether or not the Defendant would be entitled to any
reduction based upon an acceptance of responsibility. The United States expressly reserves its
tight to furnish to the Court information, if any, showing that the Defendant has not accepted
responsibility, including, but not limited to, denying his involvement, giving conflicting
statements as to his involvement, or engaging in additional criminal conduct including personal
use of a controlled substance.

(5)

Nothing herein limits the sentencing discretion of the Court.

(6)

This agreement constitutes the entire agreement between the Defendant and the United
States, and no other promises or inducements have been made, directly or indirectly, by any
agent of the United States, including any Assistant United States Attorney, concerning any plea
to be entered in this case. In addition, Defendant states that no person has, directly or indirectly,
threatened or coerced Defendant to do or refrain from doing anything in connection with any
aspect of this case, including entering a plea of guilty.

(7)

As an aid to this Court, the United States Attorney and the Defendant, by and through
Defendant’s attorney, enter into the following Stipulation of Fact. This stipulation is entered into
in good faith with all parties understanding that the stipulation is not binding on the Court.
Under U.S.S.G. Policy Statement Section 6B1.4(d), this Court may accept this stipulation as
written or in its discretion with the aid of the Presentence Investigative Report determine the

facts relevant to sentencing.

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Subject to the above paragraph, the United States Attorney and the Defendant stipulate
and agree that the Government could prove the following beyond a reasonable doubt:

In July 2020, Agents with the DEA Macon Resident Office (MRO), Ocmulgee Drug
Task Force (ODTF) and the Georgia Bureau of Investigation Region 6 Office (GBD) received
credible and reliable information from multiple confidential sources regarding illegal drug
activities occurring in and around the Milledgeville, Georgia area. Information received
identified Jarvis HAVIOR, the Defendant, as a multi-kilogram distributor of methamphetamine,
cocaine and marijuana in the Milledgeville, Georgia area. Milledgeville is in the Middle District
of Georgia.

Subsequent investigation determined that the Defendant works with several criminal
associates who assist him in distributing his narcotics supply. That investigation also revealed
that the Defendant and his criminal associates operate multiple distribution “trap” houses and
“stash” houses for bulk narcotics/U.S. currency throughout Baldwin County, Georgia.

The use of several Title 3 wiretaps in this investigation were authorized by a U.S. District
Judge in the Middle District of Georgia between on or about February 22, 2021, and April 15,
2021. These included intercepts of the Defendant’s communications on two different cellular
phones.

On April 5, 2021, pertinent communications intercepted between the Defendant, Dwight
TURNER, and other co-conspirators indicated that the Defendant was going to replenish his
methamphetamine supply. A tracker installed on the Defendant’s Ford F-150, pursuant to a
lawful and valid warrant, indicated that he was traveling to the Stone Mountain, Georgia, area,

where he had been observed travelling to on previous suspected drug re-supply runs.

 

 

 
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Surveillance of the Defendant revealed that he met with a Hispanic male in the Publix
Parking Lot at 280 Deshong Rd., Stone Mountain, Georgia.

This individual was later identified as Nicolas Cuevas FLORES (FLORES). Officers
observed the Defendant exit FLORES’ black Honda CRV with a fully laden green Publix bag,
and then get back into his Ford F-150. Both the Defendant and FLORES were surveilled
departing the Publix.

The Defendant was followed and continued travelling in the direction of Baldwin County
when he was observed stopping at the Pig Out Memphis Style BBQ restaurant located in
Covington, Georgia. There, the Defendant was observed meeting with Anrico TAYLOR.

The Defendant then departed the location in his Ford F-150 while TAYLOR was
observed driving a Black Nissan Altima. It was suspected that the Defendant had possibly
passed the green bag to TAYLOR to courier back to Baldwin County. TAYLOR followed the
Defendant’s vehicle as they continued back to Baldwin County.

Once both subjects were surveilled arriving in Baldwin County, traffic stops were
conducted simultaneously on both vehicles near the intersection of Hwy 212 and Gray Road, in
Baldwin County, which is located in the Middle District of Georgia.

During the traffic stop, TAYLOR was found to have the green Publix bag in the back seat
of his vehicle. Soon after first contact was made by law enforcement, TAYLOR attempted to
take the bag and flee on foot, destroying what was discovered to be several smaller plastic bags
located inside the green Publix shopping bag. In total, TAYLOR was able to destroy
approximately one (1) kilogram of suspected methamphetamine by ripping open the bag the

substance was housed in and then spreading the contents of the bag on the ground.

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In total, approximately four (4) kilograms of methamphetamine were seized from
TAYLOR which was located inside the same green Publix bag that Officers observed the
Defendant receive after exiting FLORES’ vehicle in Stone Mountain.

A DEA laboratory tested the substances seized on April 5, 2021, and determined that the
substances were all methamphetamine. One batch had a net weight of 3277 grams with a purity
of 92%, pure substance 3014 grams. The second batch contained the attempted retrieval of the
suspected methamphetamine from the ground, and was found to be 1018 grams of substance
with a substance purity of methamphetamine of 9%, pure substance 91g.

The Defendant now admits that on April 5, 2023, (Loe sessed methamphetamine, a
Schedule II narcotic under federal law, with the intent to distribute said methamphetamine.

(8)
ACCEPTANCE OF PLEA AGREEMENT

Defendant understands and has fully discussed with Defendant’s attorney that this
agreement shall become effective only upon the Court’s acceptance of this agreement and the
Court’s acceptance of the plea of guilty by the Defendant.

SO AGREED, this_ 6 day of “F 22s

PETER D. LEARY
UNITED STATES ATTORNEY

BY:
v’ ALEX KALIM
ASSISTANT UNITED STATES ATTORNEY

 

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I, Jarvis Havior, have read this agreement and had this agreement read to me by my
attorney, Keith Fitzgerald. I have discussed this agreement with my attorney and I fully

understand it and agree to its terms.

“Mary is hypo
JARVIS HAVIOR
DEFENDANT

 

I, Keith Fitzgerald, attorney for Defendant Jarvis Havior, have explained the Indictment
and the Government's evidence received through discovery and my investigation of the charge to
Defendant. I believe Defendant understands the charge against Defendant and the evidence that
would be presented against Defendant at a trial. I have read this agreement, have been given a

copy of it for my file, and have explained it to Defendant. To the best of my knowledge and

KEITH FITZGERAID
ATTORNEY FOR DEFENDANT

belief, Defendant understands this agree

 

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